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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

         Plaintiff,
                                                                   Case No. 1:21-cr-129
 v.
                                                                   HON. JANET T. NEFF
 MATTHEW EUGENE DEWITT,

       Defendant.
 ____________________________/


                ORDER ADOPTING REPORT AND RECOMMENDATION

        The Court has reviewed the Report and Recommendation filed on November 18, 2021 by

the United States Magistrate Judge in this action. The Report and Recommendation was duly

served on the parties, and no objection has been made thereto within the time required by law.

        THEREFORE, IT IS ORDERED that:

        1.      The Report and Recommendation of the Magistrate Judge (ECF No. 29) is

approved and adopted as the opinion of the Court.

        2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charge set forth in Count Four of the Indictment.

        3.      The written plea agreement is hereby continued under advisement pending

sentencing.



Dated: December 3, 2021                                       /s/ Janet T. Neff
                                                            JANET T. NEFF
                                                            United States District Judge
